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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



   JASON KESSLER                                      :      Case No. 1:18-cv-00015

                 Plaintiff                            :      Judge MOON


                                                      :
          -v-

   CITY OF CHARLOTTESVILLE et al.              :

                                                      :
                 Defendants

   _______________________________________________________

                 MOTION TO WITHDRAW AS COUNSEL
   _______________________________________________________

          Now come Attorneys Elmer Woodard and James E. Kolenich and move to withdraw

   as Counsel for defendants National Socialist Movement, Nationalist Front, and Jeff Schoep.



                                       Respectfully Submitted,



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                                        CERTIFICATE OF SERVICE

          I certify the above was served on February 21, 2019 by the Court’s CM/ECF system
   and upon non ECF participants as follows:

   Loyal White Knights of the Ku Klux Klan                     Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                         c/o Andrew Anglin
   the Invisible Empire, Inc.                                  P.O. Box 208
   c/o Chris and Amanda Barker                                 Worthington, OH 43085
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